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PS 8
(12/04)

                         UNITED STATES DISTRICT COURT
                                       for the
                               District of New Jersey


U.S.A. vs. Michael Larbi                                                 Docket No. 22-mj-6021

                      Petition for Action on Conditions of Pretrial Release


        COMES NOW EDNA GALARZA PRETRIAL SERVICES OFFICER, presenting an
official report upon the conduct of defendant Michael Larbi , who was placed under pretrial
release supervision by the HONORABLE DOUGLAS E. ARPERT sitting in the Court at
Trenton, on November 21, 2022, under the following conditions:
    1. $100, 000 Unsecured Appearance Bond
    2. Pretrial Services Supervision
    3. Curfew with location monitoring. The defendant is restricted to his parents’ residence
        from 7pm to 7am, or as directed by Pretrial Services
    4. Michael Anim Larbi and Dorcas Larbi were appointed third party custodians.
    5. Travel restricted to the Districts of Delaware and New Jersey and Maryland for court
        purposes only, unless approved by Pretrial Services
    6. Surrender/Do not apply for passport or travel documents.
    7. Substance abuse testing/treatment
    8. The defendant is to appear in State court, as directed, for any pending matters.
    9. Mental health testing/treatment
    10. Maintain current residence or a residence approved by Pretrial Services
    11. Continue or actively seek employment.
    12. The defendant is to report to Pretrial Services within 24 hours upon being released from
        his detainers out of Maryland and Delaware

On December 15, 2023, location monitoring and curfew was removed, and all other conditions
remained the same.

          Respectfully presenting petition for action of Court and for cause as follows:



PRAYING THAT THE COURT WILL ORDER issue a warrant as a detainer.
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ORDER OF COURT                                  I declare under penalty of perjury that the
                                                foregoing is true and correct.
                             1st
Considered and ordered this __________    day
   March
of ______________,    2024 and ordered filed
                     _____                      Executed
and made a part of the records in the above     on
case.                                           ______3/1/2024____________________

___________________________________
Honorable Tonianne J. Bongiovanni
U.S. Magistrate Judge                           ___________________________________
                                                EDNA GALARZA
                                                Intensive Supervision Specialist
